
65 So.3d 1216 (2011)
Joel M. WEISSMAN, P.A., Petitioner,
v.
Arghavan Gabriela MOSTAFAVI, Respondent.
No. 4D11-1546.
District Court of Appeal of Florida, Fourth District.
August 3, 2011.
Kristen Ann Terry and Joel M. Weissman of Joel M. Weissman, P.A., West Palm Beach, for petitioner.
Jennifer S. Carroll of the Law Offices of Jennifer S. Carroll, P.A., Palm Beach Gardens, for respondent.
PER CURIAM.
Petitioner Joel M. Weissman, P.A., seeks prohibition following the denial of its motion to disqualify the presiding judge in post-dissolution proceedings in which petitioner is pursuing a charging lien.
We conclude that the motion was legally sufficient.
Accordingly, we grant the petition and remand for reassignment to another circuit judge. We withhold formal issuance of the writ on the assumption that the presiding judge will proceed accordingly.
Petition granted.
STEVENSON, CIKLIN and CONNER, JJ., concur.
